              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 THE ESTATE OF KRISTINA ANN
 FIEBRINK by Special Administrator
 Nathaniel Cade, Jr., THE ESTATE OF
 ANGELICA M. FIEBRINK, JOSE D.
 MARTINEZ, JR., and ROBERT
 MARTINEZ,

                          Plaintiffs,
                                                   Case No. 18-CV-832-JPS

 v.

 ARMOR CORRECTIONAL HEALTH
 SERVICES INC., BRITENY R. KIRK,
 EVA CAGE, BRANDON DECKER,
 MILWAUKEE COUNTY, LATISHA
                                                                 ORDER
 AIKENS, WISCONSIN COUNTY
 MUTUAL INSURANCE
 CORPORATION, and JOHN DOES 1–20,

                          Defendants.


      Early yesterday I became aware of the tragic incident which had

occurred at the Milwaukee County Jail on Sunday evening, January 5, 2020,

involving my nephew and godson who was being held awaiting extradition

to the State of New York on state charges related to prescription drugs.

      In accordance with 28 U.S.C. § 455(a), as the randomly assigned trial

judge in the above-captioned case, I am obliged to recuse myself from any

further participation in this case currently scheduled for a jury trial to

commence on Monday, February 10, 2020.




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      Accordingly,

      IT IS ORDERED that the Clerk of the Court, in consultation with

the Circuit Executive and Chief District and Circuit Judges, take all

appropriate and necessary steps to randomly reassign this matter to

another judge, ensuring that the trial will move forward as currently

scheduled.

      Dated at Milwaukee, Wisconsin, this 7th day of January, 2020.

                                BY THE COURT:




                                J.P. Stadtmueller
                                U.S. District Judge




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